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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                      NEW ALBANY DIVISION

                                                                  :
 In re:                                                           :     Chapter 11
                                                                  :
 EASTERN LIVESTOCK CO., LLC, et al.,1                             :    Case No.: 10-93904-BHL-11
                                                                  :
                                           Debtors.               :
                                                                  :

                     NOTICE OF 2004 EXAMINATION OF WAYNE STOFFEL

           PLEASE TAKE NOTICE that, pursuant to Bankruptcy Rule 2004, Sean T. White,

 Special Counsel for the Trustee James A. Knauer, shall conduct an examination of Wayne

 Stoffel at the offices of Vorys, Sater, Seymour and Pease LLP, 221 East Fourth Street, Suite

 2000 Atrium Two, Cincinnati, OH 45202, on Friday, March 9, 2012 at 9:00 a.m.

           The examination shall be conducted only by Special Counsel for the Trustee, Sean White,

 except to the extent he permits questions by Messrs. Daniel J. Donnellon and/or John M. Rogers.

 The examinations will be taken before a notary public or other officer duly authorized to

 administer oaths, and will be transcribed by a certified court reporter. Telephonic and video

 observation of the examinations shall be accessible via the following means:

                   Telephonic Observation: Dial #888-590-1240
                                           Participant Pass Code: 5137234019

                   Video Observation: Contact tbfinney@vorys.com or 513-723-4825 to coordinate.




 1
     The Debtor entities are Eastern Livestock Co., LLC and Okie Farms, L.L.C.
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                                                  Respectfully submitted,

                                                  _/s/_John David Hoover___________
                                                  John David Hoover (#7945-49
                                                  Sean T. White (#20428-49)
                                                  Hoover Hull, LLP
                                                  111 Monument Cir Ste 4400
                                                  Indianapolis, IN 46244
                                                  Telephone: (317)-822-4400
                                                  Facsimile: (317) 822-0234
                                                  Email: swhite@hooverhull.com

                               CERTIFICATE OF SERVICE

        I hereby certify that on March 5, 2012, a copy of the foregoing Motion was filed and
 served electronically through the Court’s CM/ECF System to all counsel who are listed on the
 Court’s Electronic Mail Notice List:

                                                  /s/ John David Hoover______________
                                                  Sean T. White




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